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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
                Plaintiff,                       )
                                                 )
        vs.                                      )       Cause No. 1:09-cr-136-WTL-KPF-2
                                                 )
 ALBERTO SANTANA-CABRERA and                     )
 ABEL FLORES-LOPEZ,                              )
                                                 )
                Defendants.                      )
                                                 )

                              ENTRY ON PRETRIAL MOTIONS

        In anticipation of trial on this matter Defendant Abel Flores-Lopez filed a Motion to

 Suppress (Docket No. 90) and a Motion in Limine (Docket No. 91). These motions are fully

 briefed, and the Court being duly advised, DENIES the motion to suppress and GRANTS IN

 PART, DENIES IN PART, AND TAKES UNDER ADVISEMENT IN PART the motion in

 limine for the reasons set forth below.

                                           I. BACKGROUND

        On several occasions in July and August 2009, members of the Indianapolis Metropolitan

 Drug Task Force used a confidential source to purchase crystal methamphetamine and weapons

 from Defendant Alberto Santana-Cabrera. The final controlled buy occurred on August 11,

 2009, when the confidential source purchased one pound of crystal methamphetamine from

 Santana-Cabrera for $17,000. Prior to the buy, the confidential source was searched for

 contraband and money and fitted with a recording and transmitting device. During the course of

 the August 11 buy, Santana-Cabrera insisted that the confidential source show him the cash

 before he would provide the methamphetamine. After the confidential source took Santana-
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 Cabrera to a parking lot where an undercover DEA agent “flashed” the money, the parties

 headed back towards Santana-Cabrera’s house. En route, in response to the confidential source’s

 questions about the location of the drugs, Santana-Cabrera engaged in a cell phone conversation

 with another individual, now identified as co-Defendant Abel Flores-Lopez, who was bringing

 the drugs. Santana-Cabrera placed his cell phone into speaker mode so that the confidential

 source could hear the entire conversation. Unbeknownst to both Santana-Cabrera and Flores-

 Lopez, the call was also recorded by the confidential source’s recording and transmitting device.

        Shortly before reaching Santana-Cabrera’s house, a white Dodge Ram pickup truck

 driven by Flores-Lopez pulled up behind the confidential source’s vehicle. Santana-Cabrera

 exited the confidential source’s vehicle, entered the pickup truck, and emerged from the pickup

 truck holding a clear plastic bag containing crystal methamphetamine. When the confidential

 source left, purportedly to retrieve the money, law enforcement officers arrested Santana-

 Cabrera and Flores-Lopez.

        After Flores-Lopez was taken into custody, officers proceeded to his home in Fishers,

 Indiana. They allegedly received consent to search the premises from Flores-Lopez’s wife. In

 the house they found a safe containing among other things, approximately $53,000 and three

 weapons.

                                       III. DISCUSSION

        Flores-Lopez has now filed a motion to suppress and a motion in limine. The Court will

 address these motions in turn.

        A.      Motion to Suppress (Docket No. 90)

        Flores-Lopez seeks to suppress two pieces of evidence: (1) an August 11, 2009,


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 telephone conversation between Flores-Lopez and Santana-Cabrera that was recorded via the

 confidential source’s recording and transmitting device and (2) cash, firearms, and a religious

 icon seized from Flores-Lopez’s home safe.

            With respect to the telephone conversation, Flores-Lopez claims that this call was

 recorded in violation of the Federal Wiretap Act because the Government “knew that [Santana-

 Cabrera] used a cell phone to communicate with others in his illicit activities, yet it failed and

 refused to seek a court order to monitor [Santana-Cabrera’s] phone.” Docket No. 90 at 3. In

 response, the Government claims that Santana-Cabrera consented to the interception of the

 phone call when he placed his cell phone into speaker mode while the confidential source was in

 the car.

            Title 18, United States Code, Section 2511(2)(c) provides: “It shall not be unlawful under

 this chapter for a person acting under color of law to intercept a wire, oral, or electronic

 communication, where such person is a party to the communication or one of the parties to the

 communication has given prior consent to such interception.” In the instant case, by placing his

 phone into speaker mode, Santana-Cabrera evidenced his intent that the confidential informant

 could “intercept,” or listen in on, the cell phone call. Although Flores-Lopez is correct that the

 confidential source “was not a party to the telephonic conversation,” Docket No. 90 at 2, he

 ignores the fact that Santana-Cabrera allowed the confidential source to listen to the

 conversation. Even though Santana-Cabrera may not have consented to the confidential source’s

 listening to the conversation had he known that the confidential source was working with the

 Government, this is irrelevant. See United States v. White, 401 U.S. 745, 751 (1971) (noting that

 because “the law gives no protection to a wrongdoer whose trusted accomplice is or becomes a


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 police agent,” then the law should not “protect [the wrongdoer] when that same agent has

 recorded or transmitted the conversations which are later offered in evidence”). Accordingly,

 because Santana-Cabrera consented to the confidential source’s listening to the conversation,

 Flores-Lopez’s motion to suppress the August 11, 2009, conversation is DENIED.

        As to the warrantless search of his home, Flores-Lopez does not contest the validity of

 the search of the entire house, instead he focuses on the search of his locked safe and claims that

 this portion of the search violated his Fourth Amendment rights. He claims that “[t]here is no

 evidence suggesting that [his wife] Juaquina gave consent to search.” Id. at 6. In addition,

 Flores-Lopez asserts that Juaquina did not have “common authority” over the safe as she did not

 know its combination and did not have any of her belongings in the safe. Id.

        Essentially, Flores-Lopez’s argument boils down to a claim that, because Juaquina did

 not have access to, or control of, the safe, she could not consent to its search. This argument is

 not persuasive. First, in addition to containing $53,000 in cash and several firearms, the safe

 also housed, among other things, Juaquina’s passport and the title to a vehicle owned solely by

 Juaquina. Second, the safe’s location – in Juaquina’s bedroom – further rebuts Flores-Lopez’s

 argument that Juaquina did not have access to, or control over, it. Although it is true that

 Juaquina did not know the safe’s combination, that alone does not convince the Court that the

 safe was solely her husband’s property. Based on the totality of the circumstances, the officers

 were justified in believing that Juaquina had authority to consent, and did indeed consent to the

 search of the safe. See Illinois v. Rodriguez, 497 U.S. 177, 188 (1990). Accordingly, Flores-

 Lopez’s motion to suppress is DENIED as to the contents of the safe. In addition, Flores-

 Lopez’s motion to have the items seized from the safe returned to him is also DENIED.


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        B.      Motion in Limine (Docket No. 91)

        In his motion in limine, Flores-Lopez seeks to preclude the Government from mentioning

 six pieces of evidence: (1) Flores-Lopez’s past criminal history; (2) a statement made by

 Santana-Cabrera to DEA agents concerning Flores-Lopez’s unrelated drug trafficking activity;

 (3) U.S. currency removed from Flores-Lopez’s safe unless the Government first links the

 money to the instant offense; (4) weapons removed from Flores-Lopez’s safe unless the

 Government links the weapons to the instant offense; (5) phone calls other than those from or to

 Flores-Lopez’s cell phone; and (6) commenting that it is Flores-Lopez heard talking to Santana-

 Cabrera without first establishing that it is indeed Flores-Lopez’s voice.

        The Government indicated that it does not intend to introduce either Flores-Lopez’s

 criminal history or Santana-Cabrera’s statement about Flores-Lopez’s other drug trafficking

 activity. Accordingly, with respect to the first and second pieces of evidence, Flores-Lopez’s

 motion is GRANTED.

        The third and the fourth pieces of evidence – the money and weapons seized from Flores-

 Lopez’s safe – can be addressed together. Flores-Lopez argues that this evidence should not be

 admitted until the Government lays a foundation showing a nexus between the guns, the money,

 and the instant case. In response, the Government claims that “it is axiomatic that both guns and

 large sums of currency are both indicators of drug trafficking activity.” Docket No. 96 at 2. The

 Seventh Circuit has repeatedly stated that guns are tools of the drug trade and are therefore

 relevant evidence in a drug case. See, e.g., United States v. Bryant, 418 F.3d 771, 779 (7th Cir.

 2005); United States v. Banks, 405 F.3d 559, 571 (7th Cir. 2005). In addition, “[e]vidence of

 unexplained wealth is probative and therefore admissible if it ‘creates a reasonable inference of


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 the defendant’s involvement in the drug conspiracy or trafficking.’” United States v. Penny, 60

 F.3d 1257, 1263 (7th Cir. 1995) (quoting United States v. Davis, 789 F. Supp. 1130, 1132 (D.

 Kan. 1992)). In United States v. Carrera, 259 F.3d 818, 829 (7th Cir. 2001), the court reiterated

 this principle when it stated:

        [E]vidence of unexplained wealth is admissible in drug cases as long as: (1) the
        evidence presented creates an inference that the defendant was involved in drug
        trafficking; (2) the unexplained wealth was acquired during the period in which
        the drug crime allegedly occurred; and (3) the government presents other
        evidence to support the charged, including evidence that the income was not
        obtained through legitimate means.

        Thus, in the instant case, Flores-Lopez’s motion is limine is DENIED with respect to the

 guns seized from his safe. However, his motion is TAKEN UNDER ADVISEMENT as to the

 cash found in his safe. Until the Government satisfies the three-prong Carrera test, evidence of

 the $53,000 from Flores-Lopez’s safe will not be admitted.

        As to the phone calls, the Government claims that this evidence is admissible non-

 hearsay under FED. R. EVID. 801(d)(2)(E). While this may be true, “[t]o utilize the co-

 conspirator exception the government must show that: (1) a conspiracy existed; (2) the declarant

 and the defendant were both members of the conspiracy; and (3) the statements were made in the

 course and in furtherance of the conspiracy.” United States v. Johnson, 200 F.3d 529, 533 (7th

 Cir. 2000). In the instant case, until the Government satisfies the Johnson test, the evidence is

 not admissible. Accordingly, the Court takes this portion of Flores-Lopez’s motion UNDER

 ADVISEMENT.

        Finally, with respect to the voice on the intercepted telephone call, the Court finds United

 States v. Neighbors, 590 F.3d 485 (7th Cir. 2009), instructive. In Neighbors, the Seventh Circuit

 explained that only “minimal familiarity” is necessary to lay a sufficient foundation to satisfy

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 FED. R. EVID. 901(b)(5). Of course, the Neighbors court emphasized that “minimal familiarity”

 is a low standard and “a witness’s ability to hear an individual speak during a court proceeding

 constitutes sufficient evidence to meet the minimal familiarity requirement of Rule 901(b)(5).”

 Id. at 493. Nevertheless, before the Government can introduce the telephone call, allegedly

 containing Flores-Lopez’s voice, it must satisfy FED. R. EVID. 901(b)(5). Until the Government

 does so, the evidence is inadmissible. Thus, Flores-Lopez’s motion is TAKEN UNDER

 ADVISEMENT as to the telephone call.

                                         CONCLUSION

        For the foregoing reasons, Defendant Flores-Lopez’s Motion to Suppress (Docket No.

 90) is DENIED. Flores-Lopez’s Motion in Limine (Docket No. 91) is GRANTED IN PART,

 DENIED IN PART, AND TAKEN UNDER ADVISEMENT IN PART.

        SO ORDERED: 04/28/2010



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                                                             Hon. William T. Lawrence, Judge
                                                             United States District Court
                                                             Southern District of Indiana
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